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              In the United States Court of Federal Claims

                                          No. 16-840 C
                                    Filed: September 9, 2019



BITMANAGEMENT SOFTWARE
GMBH




                                                                                      JUDGMENT
       v.

THE UNITED STATES


       Pursuant to the court’s Opinion and Order, filed September 9, 2019,

       IT IS ORDERED AND ADJUDGED this date, pursuant to Rule 58, that judgment is
entered in favor of defendant, and plaintiff’s complaint is dismissed.


                                                      Lisa L. Reyes
                                                      Clerk of Court

                                              By:     s/ Debra L. Samler

                                                      Deputy Clerk




NOTE: As to appeal to the United States Court of Appeals for the Federal Circuit, 60 days from
this date, see RCFC 58.1, re number of copies and listing of all plaintiffs. Filing fee is $505.00.
